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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

IN RE: CENTURYLINK SALES                     MDL No. 17-2795 (MJD/KMM)
PRACTICES AND SECURITIES
LITIGATION                                   DEFENDANT’S AFFILIATES’
                                             MOTION TO INTERVENE FOR THE
This Document Relates to:                    LIMITED PURPOSES OF MOVING
 0:17-cv-02832 0:17-cv-04622                 TO COMPEL ARBITRATION AND
 0:17-cv-04613 0:17-cv-04943                 ENFORCE CLASS-ACTION
 0:17-cv-04614 0:17-cv-04944                 WAIVERS AND TO JOIN IN
 0:17-cv-04615 0:17-cv-04945                 DEFENDANT CENTURYLINK,
 0:17-cv-04616 0:17-cv-04947                 INC.’S MOTION FOR TEMPORARY
 0:17-cv-04617 0:17-cv-05001                 STAY OF DISCOVERY
 0:17-cv-04618 0:17-cv-05046
 0:17-cv-04619

       Defendant’s Affiliates – Intervenors Qwest Corporation, Embarq Florida, Inc.,

Embarq Missouri, Inc., Carolina Telephone and Telegraph Company LLC, Central

Telephone Company, CenturyTel of Idaho, Inc., CenturyTel of Larsen-Readfield, LLC,

CenturyTel of Washington, Inc., CenturyTel Broadband Services, LLC, and Qwest

Broadband Services, Inc. (jointly the “Operating Companies”) – through undersigned

counsel hereby move this Court pursuant to Federal Rule of Civil Procedure 24 and Local

Rule 7.1 for an Order granting their motion to intervene for the limited purposes of

moving to compel arbitration and enforce class-action waivers and joining in Defendant

CenturyLink Inc.’s motion for temporary stay of discovery (the “Motion”).

       The Operating Companies are ten subsidiaries of Defendant CenturyLink, Inc. that

provided the services at issue in this Proceeding through contractual agreements with the

named Plaintiffs. Under Federal Rule of Civil Procedure 24, the Operating Companies

meet the requirements for mandatory and/or permissive intervention. They seek
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intervention at this time for the limited purposes of (1) enforcing their contracts with the

named Plaintiffs that require arbitration and contain class-action waivers and (2) joining

Defendant CenturyLink, Inc.’s motion for temporary stay of discovery. More detailed

grounds for this Motion are set forth in the accompanying Memorandum of Law and the

Declarations of Kiran Seshagiri and Douglas P. Lobel exhibits attached thereto in support

of the Motion.

Dated: April 2, 2018                       Respectfully submitted,

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                                   Intervenors Qwest Corporation; Embarq
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                                   Telephone and Telegraph Company LLC;
                                   Central Telephone Company; CenturyTel of
                                   Idaho, Inc.; CenturyTel of Larsen-Readfield,
                                   LLC; CenturyTel of Washington, Inc.;
                                   CenturyTel Broadband Services, LLC; and
                                   Qwest Broadband Services, Inc.



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